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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                    RICHMOND DIVISION



UNITED STATES OF AMERICA,



V.                                                 CRIMINAL CASE NO. 3:17-CR-00080-l

DERON RADARIUS POWELL,
                           Defendant.



             REPORT AND RECOMMENDATION OF THE MAGISTRATE JUDGE

       This matter is before the Court pursuant to Title 28 U.S.C. § 636(b)(1)(B) and (b)(3) upon

the Defendant's request to enter a plea of guilty pursuant to Fed. R. Crim. P. 11 and a written plea

agreement that has been entered into by the United States and the Defendant. The matter was

presented tothe Court upon the written consent ofthe Defendant and counsel for the Defendant to
proceed before a United States Magistrate Judge, said consent including the Defendant's

understanding that he consented not only to having the Magistrate Judge conduct the hearing, but

also to having the Magistrate Judge make necessary findings and accept any guilty plea as may be

entered that could not be withdrawn except for a fair and just reason.

         The Defendant pled guilty to Count ONE (1) of the Indictment in open court and

pursuant to a Rule 11 inquiry. Upon consideration of the responses and statements made bythe

Defendantunder oath, on the record, and based upon the v^itten plea agreement and statementof

facts presented, the Court makes the following findings:

        1.     That the Defendant is competent to enter a plea of guilty;

       2.      That the Defendant understands the nature of the charge against him to which his

               plea is offered;
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     3.   That the Defendant understands what the maximum possible penalties are upon

          conviction of the offense charged, including any mandatory minimum periods of

          confinement, the effectof any required term of supervised release, the loss of

          various civil rights (ifapplicable, including the right to vote, the right to hold public

          office, the right to own and possess a firearm), the possibility of adverse

           immigration consequences (if applicable), the required imposition of a special

          assessment, forfeiture of real and/or personal property (if applicable), and

           restitution (if applicable);

     4.    That the sentencing court hasjurisdiction and authority to impose any sentence

           within the statutory maximums provided; canreject the parties' stipulations as to

           drug quantity and/or any sentencing factors; will determine the defendant's actual
           sentence in accordance with 18 U.S.C. § 3553(a); and, after considering the factors

           set forth in 18 U.S.C. § 3553(a), may impose a sentence above or below the

           advisory sentencing range, subject only to review by higher courts for

           reasonableness;

     5.    That the Defendant understands his right to persist in a plea of not guiltyand

           require that the matter proceed to trial with all the rights and privileges attending a

           trial, including, but not limited to: the right to effective assistance of counsel; the

           right to use the power and processes of the Court to compel evidence on the

           Defendant's behalf; the right to confront and cross-examine adverse witnesses; the

           right to present relevant evidence; the rightto remain silent; and,the right to trial by

           jury;

     6.    That the Defendant understands that he is waiving any right to appeal whatever

           sentence is imposed by pleading guilty, even if the sentence is erroneous,as long as

           said sentence does not exceed the total statutory penalties provided;
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       7.     That the Defendant understands all provisions of the writtenplea agreement which

              was reviewed in essential part with the Defendant during the proceeding;

       8.     That the plea of guilty entered bythe Defendant was knowingly and voluntarily

              entered and is not the result of force or intimidation of any kind; nor is it the result

              ofany promises other than the representations set forth in the plea agreement; and

       9.     That the plea of guilty entered by the Defendant was knowingly and voluntarily
              made with full knowledge of the consequences and with an independent basis in

               fact to support said plea).

       Accordingly, the Court accepted the Defendant's plea of guilty to Count ONE (1) of the

Indictment and entered judgment of guilt on the subject charge. It is therefore the

recommendation ofthe Court that itsfindings, including the acceptance oftheDefendant's plea of

guilty and resulting judgmentof guilt, be adopted.



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                                              Roderick C. Young
                                              United States Magistrate Judg

Date: November 8, 2017
Richmond, Virginia
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NOTICE


       The Defendant is advised that he/she may file specific written objection to this report

and recommendation with the Court within fourteen (14) days of this date. If objection is

noted, the party objecting must promptly arrange for the transcription of the relevant

record and file it forthwith with the Court for its use in any review. Failure to object in

accordancewith this notice, including the requirement for preparation of a transcription of

the relevant portions of the record, will constitute a waiver of any right to de novo review of

the matter and may result in adoption of the recommendation, including the flnding of guilt

as entered by the magistrate judge.
